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                                    EXHIBIT A

                                  Form of Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                         ) Chapter 11
                                                                   )
    W. R. GRACE & CO., et al.,1                                    ) Case No. 01-01139 (AMC)
                                                                   ) (Jointly Administered)
                                 Reorganized Debtor.               )
                                                                   ) Re docket no. ______
                                                                     Hearing Agenda item no. _______
                                                                   )
     ORDER FINDING THAT RUNE KRAFT IS IN CONTEMPT OF THIS COURT BY
         HAVING WILLFULLY AND KNOWINGLY VIOLATED THIS COURT’S
     CONFIRMATION ORDER AND ITS ORDER OF AUGUST 26, 2021 [DOCKET NO.
      33256] BY FILING HIS MOTION FOR AN ARTICLE III COURT’S REVIEW OF
                         THIS COURT’S AUGUST 26 ORDER

             Upon consideration of the Reorganized Debtor’s Emergency Motion for an Order Finding

That Rune Kraft Is in Contempt of This Court by Having Willfully and Knowingly Violated This

Court’s Confirmation Order and Its Order of August 26, 2021 [Docket No. 33256] By Filing His

Motion for an Article III Court’s Review of This Court’s August 26 Order [Docket No. 332**] (the

“Motion”); it appearing that the relief requested is in the best interests of the Reorganized Debtor,

its estates, its creditors, and other parties-in-interest; the Court having jurisdiction to consider the

Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; consideration of the Motion and the relief requested therein being a core

proceeding pursuant to 28 U.S.C. § 157(b), and that this Court may enter an order consistent with

Article III of the United States Constitution; venue being proper before the Court pursuant to 28

U.S.C. §§ 1408 and 1409; notice of the Motion having been adequate and appropriate under the




1
       W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc., or “Grace”) is the sole remaining Reorganized Debtor
       and Case No. 01-1139 is the sole remaining open Grace Chapter 11 Case. All capitalized terms not defined herein
       shall have the meaning ascribed to them in the Motion.


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circumstances; and after due deliberation and sufficient cause appearing therefor, the Court makes

the following FINDINGS OF FACT:

1.      On August 27, 2021, Rune Kraft filed a motion captioned Motion for the Article III Court

        to Review the Order Issued by the Article I Court (the “Arizona Article III Motion”) in the

        United States District Court for the District of Arizona (the “Arizona District Court”) in

        the matter captioned Kraft v. Chevron Corp. et al., Case No. 2:21-cv-00575-DJH (D. AZ)

        (the “Arizona-Chevron Litigation”).

2.      This Court’s Order, entered August 26, 2021 [Docket no. 33256] (the “August 26 Order”)

        states in relevant part: “Kraft is barred from taking any other action in the Arizona Chevron

        Action involving or otherwise pertaining to Grace except for filing the pleading seeking

        Grace’s dismissal from the Arizona Chevron Action and any other actions necessary to

        have Grace dismissed from the Arizona Chevron Action.” Id. at ¶ 31.b.

3.      Mr. Kraft had actual knowledge of the Confirmation Order and the complete bar to him

        filing any pleading or taking any other action in furtherance of his discharged claim.

4.      Mr. Kraft had actual knowledge of the entry of the August 26 Order, and of the contents of

        the Order, including but not limited to ¶ 31.b thereof.

5.      Mr. Kraft’s filing of his Arizona Article III Motion constituted an action in the Arizona-

        Chevron Litigation, and was therefore a violation of the August 26 Order.

6.      Mr. Kraft had no “fair ground of doubt” that his actions were in violation of this Court’s

        Confirmation Order and August 26 Order.

7.      Mr. Kraft had no “objectively reasonable basis for concluding” that filing the Arizona

        Article III Motion did not violate this Court’s Confirmation order and August 26 Order.

8.      Mr. Kraft acted willfully and knowingly in filing the Arizona Article III Motion.



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Based upon the foregoing findings of facts, it is hereby ORDERED that:

A.      The Motion is granted in its entirety.

B.      Rune Kraft shall file a pleading in the Arizona District Court seeking to withdraw his

        Arizona Article III Motion within two (2) days of entry of this Order.

C.      Mr. Kraft shall file a notice of that pleading on the docket in the above-captioned Chapter

        11 Case.

D.      Mr. Kraft shall comply with the requirement set forth in August 26 Order ¶ 31.a to file a

        pleading in the Arizona District Court seeking dismissal of the Reorganized Debtor with

        prejudice from the Arizona-Chevron Litigation.

E.      Entry of this Order shall not prejudice the right of the Reorganized Debtor to seek sanctions

        for this or subsequent violations of the Confirmation Order, the August 26 Order, this

        Order, or any other orders of this Court.

F.      The Court shall retain jurisdiction to hear and determine all matters arising from or relating

        to the implementation of this Order, the Dismissal Pleading, and any motion for sanctions

        brought against Mr. Kraft.




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G.     This Order shall be effective and enforceable immediately upon entry and its provisions

       shall be self-executing and shall not be stayed under Fed. R. Bankr. P. 7062, Fed. R. Bankr.

       P. 9014 or otherwise.

Dated: ____________, 2021


                                             _________________________________________
                                             Honorable Ashely M. Chan
                                             United States Bankruptcy Judge




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